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                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                       CIVIL TRIAL DIVISION
___________________________________________________________________________________

GARY L. PEARCE                      :
1657 Kenmare Drive                  :
Dresher, PA 19025                   :
     And                            :
PEARCE ENTERPRISES LLC.             :
1657 Kenmare Drive                  :
Dresher, PA 19025                   :
           Plaintiffs               :
     v.                             :     CASE NO.: 21-2874
                                    :
CESSNA FINANCE CORPORATION :
Two Cessna Blvd., Suite 100         :
North Wichita, KS 67204             :
            Defendant               :
______________________________________________________________________________

                              CIVIL ACTION COMPLAINT

PARTIES

      1. Plaintiffs are GARY L. PEARCE and PEARCE ENTERPRISES LLC, both of who

are located at 1657 Kenmare Drive, Dresher, PA 19025.

      2. Defendant, CESSNA FINANCE CORPORATION, is a corporation doing

business at Two Cessna Blvd., Suite 100, North Wichita, KS 67204.

II. FACTUAL BACKGROUND

      3a. Jurisdiction in this case is based upon Diversity of Citizenship as all

Plaintiffs and all Defendants are citizens of different states, wherein the Plaintiffs are

citizens of the State of Pennsylvania and the Defendants are citizens of the State of

Kansas and the amount in controversy exceeds the sum of $150,000, exclusive of

interest and costs.


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      3b. In and around 2006, the Plaintiffs purchased a Cessna 206 airplane for

approximately Five Hundred Thousand ($500,000) Dollars. As payment thereof

Plaintiff deposited approximately Ten Thousand ($10,000) Dollars and financed Four

Hundred Ninety Thousand ($490,000) Dollars. This plane was turned back to

Defendant after Plaintiff was advised by Defendants duly authorized agents, that they

would resell the plane, so that he would owe nothing, as they could easily resell it for

in excess of what was still owed on the original sale. In 2011, the dealer sold it 3

years later for approximately Two Hundred Sixty Thousand ($260,000) Dollars, which

left approximately Forty Thousand ($40,000) Dollars still owed. This was obviously a

major misrepresentation by the Defendants.

      4. This balance was a then termed out as a seven (7) year loan of which the

Plaintiffs paid Five Hundred ($500) Dollars per month for approximately eighty-six

(86) months, for a total of Forty-three Thousand ($43,000) Dollars.

      5. At the time that the plane was turned back there was approximately Three

Hundred Thousand ($300,000) Dollars owed on the Note for the plane.

      6. At the time of the signing of the Note, Plaintiffs concedes that Pearce

Enterprises LLC, did sign that Note. However, the Defendant, Gary L. Pearce, as an

individual never signed the Note or any other documents indicating individual

liability for him with respect to the obligation with regard to the plane either as a

guarantor or otherwise.

      7. Defendant, Gary L. Pearce, believes and therefore avers that if any signature

appears on the loan documents with respect to him agreeing to individual liability, it




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is a forgery; as he never signed those Notes, or any other documentation as an

individual.

      8. In and around approximately November, 2020, said Plaintiff stopped paying

on said Note when he first realized that there was no individual liability, as per the

above.

      9. Approximately three (3) months after the Plaintiff stopped payment on said

Note in the amount of Five Hundred ($500) Dollars per month, the Defendant filed in

the Court of Common Pleas in Philadelphia, loan documentation in order to take a

Judgement against the Plaintiffs, in June of 2015.

         10. That the Philadelphia Foreign Judgement was later transferred to

Montgomery County on or about 12/7/20 under the following identifying

information, No. 2020-20199, and against Pearce Enterprises LLC and against Gary

Pearce. However it was wrongfully captioned as Cessna Finance Corporation vs

PEARDE Enterprises LL, on the Philadelphia docket.

      11. Wrongfully, on or about April 27, 2020, the Defendant attempted to seize

the bank accounts of the Plaintiff located at TD Bank, as Defendant has proceeded to

collect the above sum wrongfully, against the Plaintiff individual, Gary Pearce.

                                        COUNT I

          WRONGFUL APPROPRIATION OF CORPORATE ASSETS,
     BREACH OF FIDUCIARY DUTY, CONVERSION, AND CIVIL CONSPIRACY

      12. Plaintiff incorporates the allegations contained in paragraphs 1 through

11, above, as though the same were set forth herein at length.

      13. As a result of the actions and inactions more fully set forth above, Plaintiff

has been caused grave injury to its business relations.

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      14. As a further result of the actions and inactions more fully set forth above,

Plaintiff has suffered serious injury to both its goodwill, as well as its reputation.

      15. Defendants’ outrageous conduct more fully set forth above has caused

serious damage to the business relations of Plaintiff.

      16. The above actions and inactions of the Defendant were committed

intentionally, deliberately, maliciously and fraudulently thereby imposing liability on

the defendants for punitive damages as well as compensatory damages, and entitling

the plaintiff to injunctive relief.

      WHEREFORE, Plaintiff demands judgment in its favor and against defendants

jointly and severally in a sum in excess of Five Hundred Thousand ($500,000) Dollars

along with punitive damages and any other relief the Court deems just and proper.

                                           COUNT II

                                      BREACH OF CONTRACT

      17. Plaintiff incorporates the allegations contained in paragraphs 1 through

16, above, as though the same were set forth herein at length.

      18. As a direct and proximate result of Defendants’ breach, Plaintiff has been

damaged.

       WHEREFORE, Plaintiff demands judgment in its favor and against defendants

jointly and severally in a sum in excess of Five Hundred Thousand ($500,000) Dollars

along with punitive damages and any other relief the Court deems just and proper.

                                         COUNT III

                               FRAUD IN THE INDUCMENT




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      19. Plaintiffs incorporate by allegations of paragraphs 1 through 18, as set

forth fully herein.

      20. As a direct and proximate result of the Defendants misrepresentations,

particularly those stated by Defendant’s duly authorized agents that they could “get

him out of the Note, free and clear” by reselling the plane, Plaintiffs have suffered

direct losses and consequential damages in excess of Five Hundred Thousand

($500,000) Dollars.

      21. Defendant’s actions were willful, vexatious, malicious and without

reasonable justification or excuse. These actions were undertaken by the Defendant

with the sole intent to harm the Plaintiffs and wrongfully expose him to individual

liability, via the forging of his signature. Therefore, Plaintiff has also suffered

punitive damages in the amount in excess of Two Hundred Fifty Thousand

($250,000) Dollars to be set by the Court, which is just and proper.

      WHEREFORE, Plaintiff demands that Judgment be entered in his favor and

against Defendant, in an amount in excess of Five Hundred Thousand ($500,000)

Dollars. Further, that this Court may award such other and additional relief as the

Court may deem just and proper.

                                        COUNT IV

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                        AND TORTIOUS INTERFERENCE

      22. Plaintiff restates all previous allegations fully herein.

      23. At all times relevant, Defendant owed a duty to Plaintiff to refrain from

interfering with Plaintiff’s business activities and ruing his credit.



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      24. By misrepresenting to Plaintiff as referred to above, Defendant tortuously

interfered with Plaintiff’s actions and intentionally has caused the Plaintiff great

emotional pain and loss and have engaged in egregious and vexatious activity to

harm the Plaintiff, as to give rise to punitive damages to be decided by the Court.

      25. Plaintiff has been damaged and incurred financial loss by the foregoing

conduct in that Plaintiff in an amount in excess of Five Hundred Thousand

($500,000) Dollars and punitive damages in excess of Two Hundred Fifty Thousand

($250,000) Dollars.

      WHEREFORE, Plaintiff demands Judgment in their favor against Defendants in

an amount at minimum in excess of Seven Hundred Fifty Thousand ($750,000)

Dollars.

                                        COUNT V

                                MISREPRESENTATION

      26. Plaintiff restates all previous allegations fully herein.

      27. Plaintiff has been damaged and incurred financial loss by the foregoing

conduct in that the Plaintiff has been damaged in an amount in excess of Seven

Hundred Fifty Thousand ($750,000) Dollars.

      WHEREFORE, Plaintiff demands Judgment in their favor against Defendant in

an amount in excess of Seven Hundred Fifty Thousand ($750,000) Dollars.

                                       COUNT VI

            INJUNTION, EQUITABLE RELIEF AND CEASE AND DESIST

      28. Plaintiff restates all previous allegations fully herein.




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      29. That the Defendant is engaging in a course of conduct which will continue

to damage the Plaintiff as stated previously.

      30. That separate and apart from the legal damages set forth herein, the

Plaintiff demands this Honorable Court to enter an injunction against the Defendant

to Cease and Desist from any further collection efforts and to dismiss any and all

liens on TD Bank and others in connection, in any way shape or form.

      31. That further violation thereof will generate a penalty of at least Three

Thousand ($3,000.00) Dollars per day in addition to any restrictions the Court

imposes pursuant to this equitable theory.

      WHEREFORE, Plaintiff prays this Honorable Court, to enter a Cease and Desist

Order against the Defendant and such other relief as the Court deems just and

proper.

                                     Respectfully Submitted,


DATED:      6/24/2021             By: /s/ Jeffrey D. Servin, Esquire
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                             DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury as to all issues.


                                      /s/ Jeffrey D. Servin, Esquire
                                      JEFFREY D. SERVIN, ESQUIRE




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